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  15                                  UNITED STATES DISTRICT COURT
  16                               SOUTHERN DISTRICT OF CALIFORNIA
  17 DARRYL DUNSMORE, ERNEST                                    Case No. 3:20-cv-00406-AJB-DDL
     ARCHULETA, ANTHONY EDWARDS,
  18 REANNA LEVY, JOSUE LOPEZ,
     CHRISTOPHER NELSON,                                        PLAINTIFFS’ NOTICE OF
  19 CHRISTOPHER NORWOOD, and                                   MOTION AND MOTION FOR
     LAURA ZOERNER, on behalf of                                LIMITED EXPEDITED
  20 themselves and all others similarly situated,              DISCOVERY
                 Plaintiffs,                                    Judge:      Hon. Anthony J. Battaglia
  21
          v.                                                    Magistrate: Hon. David D. Leshner
  22 SAN DIEGO COUNTY SHERIFF’S
     DEPARTMENT, COUNTY OF SAN                                  Trial Date: None Set
  23 DIEGO, CORRECTIONAL
     HEALTHCARE PARTNERS, INC.,                                        NO HEARING DATE
  24 LIBERTY HEALTHCARE, INC., MID-                                      PER DKT. 211
     AMERICA HEALTH, INC., LOGAN
  25 HAAK, M.D., INC., SAN DIEGO
     COUNTY PROBATION DEPARTMENT,
  26 and DOES 1 to 20, inclusive,
  27             Defendants.
  28

       [4146073.1]                                                        Case No. 3:20-cv-00406-AJB-DDL
                     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LIMITED EXPEDITED DISCOVERY
Case 3:20-cv-00406-AJB-DDL              Document 212      Filed 09/07/22   PageID.7654      Page 2
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       [4146073.1]                                                        Case No. 3:20-cv-00406-AJB-DDL
                     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LIMITED EXPEDITED DISCOVERY
Case 3:20-cv-00406-AJB-DDL              Document 212      Filed 09/07/22   PageID.7655      Page 3
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   1 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
   2                 PLEASE TAKE NOTICE that Plaintiffs Darryl Dunsmore, Ernest Archuleta,
   3 Anthony Edwards, Reanna Levy, Josue Lopez, Christopher Nelson, Christopher
   4 Norwood, and Laura Zoerner (“Plaintiffs”), on behalf of themselves and all other
   5 similarly situated persons, will and hereby do move this Court, pursuant to Federal
   6 Rule of Civil Procedure 26(d), for an order permitting limited, expedited discovery
   7 of Defendants San Diego County Sheriff’s Department and the County of San Diego
   8 (“County Defendants”) related to six discrete issues related to the San Diego County
   9 Jail.
  10                 The Motion is based on this notice; the accompanying memorandum of points
  11 and authorities; the declaration of Van Swearingen and associated exhibits; any
  12 evidence and argument presented at any hearing on the motion, and all other papers
  13 and pleadings on file in this action.
  14
  15 DATED: September 7, 2022                       Respectfully submitted,
  16
                                                    ROSEN BIEN GALVAN & GRUNFELD LLP
  17
  18                                                By: /s/ Van Swearingen
  19                                                    Van Swearingen
  20
                                                    Attorneys for Plaintiffs
  21                                                Email: vswearingen@rbgg.com
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       [4146073.1]                                      1                 Case No. 3:20-cv-00406-AJB-DDL
                     PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR LIMITED EXPEDITED DISCOVERY
